
(2008)
In re CONAGRA PEANUT BUTTER PRODUCTS LIABILITY LITIGATION
Leann Causey Boyd, et al. v. ConAgra Foods, Inc., W.D. Louisiana, C.A. No. 1:08-258.
MDL No. 1845.
United States Judicial Panel on Multidistrict Litigation.
June 5, 2008.

TRANSFER ORDER
JOHN G. HEYBURN, II, Chairman.
Before the entire Panel: Plaintiffs in an action pending in the Western District of Louisiana have moved pursuant to Rule 7.4, R.P.J.P.M.L., 199 F.R.D. 425, 435-36 (2001), asking the Panel to vacate its order conditionally transferring the action to the Northern District of Georgia for inclusion in MDL No. 1845. Defendant ConAgra Foods Inc. (ConAgra) opposes the motion.
After considering all argument of counsel, we find that this action involves common questions of fact with the actions in this litigation previously transferred to the Northern District of Georgia, and that transfer of this action to the Northern District of Georgia for inclusion in MDL No. 1845 will serve the convenience of the parties and witnesses and promote the just and efficient conduct of the litigation. We further find that transfer of this action is appropriate for reasons that we set out in our original order directing centralization in this docket. In that order, we held that the Northern District of Georgia was a proper Section 1407 forum for actions in which plaintiffs allege harm from consuming and/or purchasing contaminated peanut butter that was manufactured and packaged at ConAgra's Sylvester, Georgia, plant. See In re ConAgra Peanut Butter Products Liability Litigation, 495 F.Supp.2d 1381 (J.P.M.L.2007).
Plaintiffs can present their motion to remand the action to state court to the transferee judge. See, e.g., In re Ivy, 901 F.2d 7 (2d Cir.1990); In re Prudential Insurance Company of America Sales Practices Litigation, 170 F.Supp.2d 1346, 1347-48 (J.P.M.L.2001).
IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, this action is transferred to the Northern District of Georgia and, with the consent of that court, assigned to the Honorable Thomas W. Thrash, Jr., for inclusion in the coordinated or consolidated pretrial proceedings occurring there in this docket.
